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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


ALEXANDER STYLLER, INTEGRATED
COMMUNICATIONS & TECHNOLOGIES,
INC., JADE CHENG, JASON YUYI, CATHY                Civil Action No. 1:16-CV-10386 (LTS)
YU, CAROLINE MARAFAO CHENG, PUSHUN
CHENG, CHANGZHEN NI, JUNFANG YU,
MEIXIANG CHENG, FANGSHOU YU, and
CHANGHUA NI,

                              Plaintiffs,

        vs.

HEWLETT-PACKARD FINANCIAL SERVICES
COMPANY, HEWLETT-PACKARD
FINANCIAL SERVICES (INDIA) PRIVATE
LIMITED, HP INC., HEWLETT PACKARD
ENTERPRISE COMPANY, and DAVID GILL

                              Defendants.




                                      JOINT REPORT

        WHEREAS, on December 14, 2017, the Court issued an order scheduling discovery in

this Action (ECF 141);

        WHEREAS, the parties commenced discovery pursuant to the Court’s scheduling order;

        WHEREAS, on May 25, 2018, the parties filed a Joint Report to the Court Regarding

Mediation [ECF 154], expressing their interest in mediation before a Magistrate Judge of this

Court, and requesting that “all other procedural and administrative aspects of the matter be

stayed sine die until the conclusion of mediation, with the understanding that the current

Scheduling Order will be amended accordingly in the event that the mediation does not resolve

all issues in the case”;




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         WHEREAS, on May 29, 2018, the Court entered an electronic order referring the action

to Judge Dein for alternative dispute resolution [ECF 157];

         WHEREAS, on August 7, 2018, Judge Dein conducted a mediation with the parties to the

action, but such mediation was unsuccessful;

         WHEREAS, following the unsuccessful mediation, a motion to dismiss was filed and

briefed in a related action, captioned Quinn v. Hewlett-Packard Financial Services Company (D.

Mass. 1:18-cv-10705) (the “Quinn Action”);

         WHEREAS, on November 21, 2018, the Court entered an order allowing defendants’

motion to dismiss the amended complaint in the Quinn Action;

         WHEREAS, on November 21, 2018, the Court entered an electronic order (the

“November 21 Order”) requiring the parties to “submit a revised joint status report stating their

joint or separate positions as to any changes the Court should make to the governing scheduling

order in this case”; and

         WHEREAS, the parties have conferred in good faith, and have agreed upon the following

proposed revisions to the case schedule;

         THE PARTIES HEREBY respectfully submit, pursuant to the November 21 Order, their

joint position with respect to modification of the case schedule:


    1. Document Discovery From Parties1

         a. An ESI Protocol must be filed with the Court by December 21, 2018.

         b. Parties shall begin document productions no later than January 30, 2019.

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          Defendants would like to bring to the Court’s attention the fact that as many as half of the counts raised in
plaintiffs’ Second Amended Complaint are entirely dependent on plaintiffs’ demonstration that the equipment sold
to ICT was counterfeit. Based on defendants’ audit of the equipment (following the Court’s order that the plaintiffs
ship the devices from China to the U.S.), defendants anticipate conducting targeted discovery on the issue of
authenticity and filing an early partial motion for summary judgment on this issue. While resolution of this single
issue in defendants’ favor will not resolve all of the pending claims, it would significantly narrow the scope of the
litigation.

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   c. All final requests for production of documents and interrogatories must be served by
      February 14, 2019.

   d. Parties shall complete document productions no later than April 15, 2019.

   e. All requests for admission must be served by June 1, 2019 and response thereto shall
      be served by July 1, 2019.

2. Non-Party Discovery

   The parties may commence non-party discovery, other than depositions, on December 1,
   2018.

3. Depositions

   The parties may commence depositions (party and non-party) on April 15, 2019, with all
   such discovery to be completed by September 15, 2019

4. Expert Discovery

   a. The party with the burden of proof on an issue shall produce its expert report thirty
      days after close of fact discovery (i.e., October 15, 2019).

   b. Rebuttal expert reports are due November 15, 2019.

   c. Depositions of experts shall be completed by January 15, 2020.

5. Dispositive Motions

   Dispositive motions, such as motions for summary judgment or partial summary
   judgment and motions for judgment on the pleadings, must be filed by February 14,
   2020, with the opposition due thirty days thereafter. In the case of cross-motions the
   deadlines and page limits for the filings other than the movant’s initial motion are set
   forth in the Session’s Standing Order on Summary Judgment Motions unless specifically
   modified.

                                    CONCLUSION

   The parties respectfully submit the above Joint Report for the Court’s consideration.




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